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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


PHILIP JACKSON,                                      §
an Individual,                                       §
                                                     §   Case No. 2:08-cv-154
        Plaintiff,                                   §
v.                                                   §
                                                     §
INTEL CORPORATION,                                   §   DEMAND FOR TRIAL BY JURY
a Delaware Corporation,                              §
                                                     §
        Defendant.                                   §
                                                     §

                                          COMPLAINT

        Plaintiff, PHILIP JACKSON, brings this action against the Defendant, INTEL

CORPORATION, and for his Complaint against Defendant, Plaintiff states as follows:


                                         THE PARTIES

        1.      Plaintiff is an individual residing at 909 S. Clifton Avenue, Park Ridge, IL 60068.

        2.      Upon information and belief, Intel Corporation is a corporation organized and

existing under the laws of the State of Delaware and is doing business in this judicial district and

elsewhere. Intel Corporation may be served with process by serving its Texas registered agent,

CT Corporation System, 350 N. St. Paul Street, Dallas, Texas 75201.


                                 JURISDICTION AND VENUE

        3.      This is an action for infringement of a United States patent. Accordingly, this

action arises under the patent laws of the United States of America, 35 U.S.C. § 1 et. seq. and

jurisdiction is properly based on Title 35 United States Code, particularly § 271, and title 28

United States Code, particularly § 1338(a).


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       4.      Venue is proper in this district under Title 28 United States Code §§ 1391(b-c)

and 1400(b). Upon information and belief, the Defendant has transacted business in this district

or has committed and/or induced acts of patent infringement in this district.



                                      THE PATENT-IN-SUIT

       5.      On June 24, 1986, United States Patent No. 4,596,900 (the “‘900 Patent”), which

is entitled “Phone-Line-Linked, Tone Operated Control Device,” was duly and legally issued to

Plaintiff, Philip Jackson. On October 10, 1995, a Reexamination Certificate was duly and legally

issued to Plaintiff, amending the ‘900 patent in certain respects. True and correct copies of the

‘900 Patent, as well as its Reexamination Certificate, are attached as Exhibit A.

       6.      Pursuant to 35 U.S.C. § 282, the ‘900 Patent, as well as the Reexamination

Certificate, are presumed valid.

       7.      Plaintiff owns all right, title and interest to the ’900 patent.


                                   COUNT I
                    PATENT INFRINGEMENT OF THE ’900 PATENT

       8.      Plaintiff incorporates by reference each and every paragraph of this Complaint as

though fully stated herein.

       9.      During the relevant time frame, Intel Corporation has been and still is infringing

the’900 Patent in this judicial district and elsewhere, by manufacturing, selling, marketing,

distributing, and/or using products which embody the patented invention and will continue to do

so unless enjoined by this Court. Specifically, it is believed that at least the following products,

or products whose precise designation is presently unknown but are substantially similar to the

following, infringe the’900 Patent:




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               a.      “Intel NetMerge Call Processing Software Version 6.0

               b.      “Intel NetMerge CT Application”

               c.      “Intel NetMerge Call Processing Software ‘Family 1 ”

               d.      “Intel Netmerge Enhanced Software Development Kit”

               e.      “Intel CT Connect Call Control Server Software Version 5.0 2 ”

               f.      “Envox CT Connect 6.1 3 ”

               g.      “Envox Packaged Voice Solutions”

               h.      “Intel Telecom Software 4 ”

               i.      “Excele Tel Programs 5 ”

               j.      “Intel Net Structure Host Media Processing Software for Windows,”

       10.     By manufacturing, selling, marketing, distributing, and/or using these products,

Intel Corporation has, in the past, infringed, contributed to the infringement of, or induced the

infringement of at least claims 1, 3, 5, 10, 31, 32, 33, 34, 35, 36, 37, 59, 60, 61, 61, 63, 64, 65,

66, 67 and 68 of the ‘900 patent, either literally or under the doctrine of equivalents.

       11.     The infringement of the ‘900 patent, as alleged herein, has injured Plaintiff, and

Plaintiff is entitled to recover damages in an amount that adequately compensates it for

Defendant’s infringement of the ‘900 patent, which in no event can be less than a reasonable

royalty.


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  These products include, but may not be limited to the following: Intel NetMerge Call
Processing Software, Intel NetMerge Call Information Manager, Intel NetMerge Call Monitoring
Manager, Intel NetMerge Call Routing Manager, Enhanced Software Development Kit, CSTA
Switch Simulator
2
  Other versions may infringe as well.
3
  Other versions may infringe as well.
4
  These products include, but may not be limited to the following: Intel Host Media Processing,
Intel System Release Software, Envox Call Processing Software, Intel Call Manager Software,
Intel Application Development Tools.
5
  These products include, but may not be limited to the following: et Dialogic Answer Forward
SC, et Dialogic Dial, etlVR4Line, etlvR4 LineBuffers, et Transfer.


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          12.    Plaintiff hereby demands a trial by jury on all claims and issues.


                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, Philip Jackson, prays for entry of judgment and the following
relief:

          A.     A Judgment against Defendant, Intel Corporation, indicating that it has directly

infringed, has actively induced others to infringe and/or has contributed in the infringement of

the ’900 patent;

          B.     A Judgment against Defendant, Intel Corporation, ordering Defendant to account

for and pay to Plaintiff all damages caused by the infringement of the patents-in-suit, which by

statute can be no less than a reasonable royalty;

          C.     That this case be declared an exceptional case under 35 U.S.C. §285 as to each

Defendant and that Plaintiff be awarded its attorney fees incurred in this action;

          D.     For an award of Plaintiff’s costs of this action, interest on the award, and other

charges to the maximum extent permitted; and

          E.     For such other future relief as the Court deems just and proper under the

circumstances.




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                                   Respectfully submitted,



Dated: April 9, 2008               /s/ Edward W. Goldstein
                                   Edward W. Goldstein
                                   Texas Bar No. 08099500
                                   Corby R. Vowell
                                   Texas Bar No. 24031621
                                   GOLDSTEIN, FAUCETT & PREBEG, LLP
                                   1177 West Loop South, Suite 400
                                   Houston, TX 77024
                                   Tel: 713-877-1515
                                   Fax: a713-877-1737
                                   Emails: egoldstein@gfpiplaw.com
                                            cvowell@gfpiplaw.com

                                   Andrew Kochanowski (P55117)
                                   Lisa R. Mikalonis (P39485)
                                   Christopher M. Hogg (P69824)
                                   SOMMERS SCHWARTZ, P.C.
                                   2000 Town Center Drive, Suite 900
                                   Southfield, MI 48075-1100
                                   (248) 355-0300
                                   Emails: akochanowski@sommerspc.com
                                           lmikalonis@sommerspc.com
                                           chogg@sommerspc.com

                                   ATTORNEYS FOR PLAINTIFF




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